           Case 4:18-cv-04770 Document 6 Filed on 02/15/19 in TXSD Page 1 of 3



     Richard J. Mooney (admitted pro hac vice)
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 4
     Attorneys for Plaintiff Triumphant Gold Limited
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 6
 7                                UNITED STATES DISTRICT COURT

 8                            FOR THE SOUTHERN DISTRICT OF TEXAS

 9                                        HOUSTON DVISION
10
11
      Triumphant Gold Limited,                         CASE NO. 18-CV-4770
12
                            Plaintiff,                 Request for Entry of Default
13
              v.
14
      Darren Matloff,
15
                            Defendant.
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           Case 4:18-cv-04770 Document 6 Filed on 02/15/19 in TXSD Page 2 of 3




 1                  Plaintiff Triumphant Gold Limited (“Plaintiff” or “TGL”) hereby respectfully request
 2   entry of default in this matter against Defendant Darren Matloff on the ground that said defendant
 3   has failed to appear or otherwise respond to the complaint within the time prescribed by the Federal
 4   Rules of Civil Procedure. Plaintiff served the complaint and summons on Mr. Matloff on January
 5   15, 2019, by “leaving a copy of [the complaint and summons] at the individual’s dwelling or usual
 6   place of abode with someone of suitable age and discretion who resides there” at 75 Vine St. #805 in
 7   Seattle, Washington (98121), as provided by Rule 4(e)(2)(B) of the Federal Rules of Civil
 8   Procedure. See Docket No. 4 (service on “30-35 year old” who was a “co-resident” who confirmed
 9   that she and Mr. Matloff each “live” at 75 Vine St. #805.
10                  In addition, for the avoidance of controversy, Plaintiff completed the previously-
11   initiated January 11, 2019 service via “mailing to the defendant by registered or certified mail, return
12   receipt requested, a true copy of the citation with a copy of the petition attached thereto,” as
13   provided by Rule 106 of the Texas Rules of Civil Procedure, as authorized by Rule 4(e)(1) of the
14   Federal Rules of Civil Procedure. See Docket No. 5 (proof of service by registered mail – return
15   receipt requested, along with a copy of the signed return card showing delivery on January 14).
16                  The above stated facts are true as set forth in the accompanying declaration of
17   Richard Mooney filed herewith (on the following page).
18                  Respectfully submitted on February 15, 2019.
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20
     Dated: February 15, 2019                       Rimon P.C.
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23                                                  By: ____                             _____
24                                                  Richard Mooney
                                                    Attorneys for Plaintiff Triumphant Gold Limited
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                                              Request To Enter Default
                               Triumphant Gold Limited v. Matloff (Case No. 18-cv-4770)
           Case 4:18-cv-04770 Document 6 Filed on 02/15/19 in TXSD Page 3 of 3




 1
 2                  I, Richard Mooney, declare as follows:
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 4                  1.      I am attorney licensed to practice in the State of California and admitted to
 5   practice pro hac vice in this Court for this action. I am a partner at Rimon PC, counsel to Plaintiff in
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     this action. I make this Declaration based on personal knowledge, and if called as a witness I could
 7
     and would testify competently to the following facts.
 8
                    2.      The facts stated above in this request are true and correct.
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                    I declare under penalty of perjury under the laws of the United States and of the
13
     States of Texas and California that the foregoing is true and correct. Executed on February 15, 2019,
14
15   in San Francisco, California.

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                                                                     ____________________________
18                                                                   Richard J. Mooney

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                                                          2
                                              Request To Enter Default
                               Triumphant Gold Limited v. Matloff (Case No. 18-cv-4770)
